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Nicholas Smith <nds@davidbsmithpllc.com>

US v. Nordean, 21-cr-175, juror transportation

Nicholas Smith <nds@davidbsmithpllc.com> Tue, Mar 7, 2023 at 5:56 PM
To: Kelly Chambers <Kelly_Chambers@dcd.uscourts.gov>, "Carmen D. Hernandez” <chernan7@aol.com>, "Mulroe, Conor
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Chambers,

At the end of the day, Ms. Hernandez indicated she had learned that the jurors are bused to the courthouse from another
location. In response, the Court may have indicated at the end of the day that it entered an order before trial regarding
that subject. We cannot locate the transportation order. We apologize if we are missing it. Can the Court let us know the
docket entry for the order? Thank you.

Nick Smith
917-902-3869
